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                               United States District Court
                               for the District of Columbia

UNITED STATES OF AMERICA,                   )
Plaintiff                                   )
                                            )
v.                                          )        Crim. No. 1:21-cr-457-CRC-1
                                            )
ANTHONY J. SCIRICA,                         )
Defendant                                   )



                     NOTICE OF ATTORNEY APPEARANCE

      NOW COMES undersigned counsel, Mark A. Jones, Esq., respectfully providing

notice to this Honorable Court, and to the Office of the United States Attorney, of his

appearance as Counsel of Record for Mr. Scirica this matter before the United States

Court for the District of Columbia.



      Respectfully submitted, this the 16th day of August, 2021.


                                                          /s/ Mark A. Jones
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